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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 SPECIFIX FASTENERS PTY LTD, et al.,                )   Case No. 1:15-cv-01366
                                                    )
                Plaintiffs,                         )   Judge Christopher A. Boyko
                                                    )
         v.                                         )
                                                    )   STIPULATED ORDER OF
 ALLFASTENERS USA LLC, et al.,                      )   DISMISSAL WITH PREJUDICE
                                                    )
                Defendants.                         )


        Now come the Plaintiffs and Defendants by and through their respective counsel as

undersigned and hereby dismiss with prejudice, each of their respective Complaint (Dkt. 1), First

Amended Complaint (Dkt. 25) Second Amended Complaint (Dkt. 37), and Counterclaims (Dkt.

14). Each Party shall bear their own costs, expenses, and attorneys’ fees with regard to the

proceeding or otherwise without limitation.

Respectfully submitted,


        April 24, 2017                        /s/ Robert W. McIntyre
Date                                          ROBERT W. McINTYRE (0006768)
                                              ANGELA M. LAVIN (0069604)
                                              Wegman Hessler & Vanderburg
                                              6055 Rockside Woods Blvd, Suite 200
                                              Independence, OH 44131
                                              Telephone: (216) 642-3342 / Fax: (216) 642-8826
                                              Email: rwmcintyre@wegmanlaw.com;
                                                     amlavin@wegmanlaw.com
                                              Attorneys for Plaintiff Acme Operations Pty Ltd.
       Case: 1:15-cv-01366-CAB Doc #: 58 Filed: 04/25/17 2 of 2. PageID #: 1505




        April 24, 2017                 /s/ Arthur P. Licygiewicz
Date                                   Arthur P. Licygiewicz (0068458)
                                       John R. Mitchell (0066759)
                                       James T. Fisher (0084932)
                                       Thompson Hine LLP
                                       3900 Key Center, 127 Public Square
                                       Cleveland, OH 44114-1291
                                       Telephone: (216) 566-5500 / Fax: (216) 566-5800
                                       Email: Art.Licygiewicz@ThompsonHine.com
                                               John.Mitchell@ThompsonHine.com
                                               James.Fisher@ThompsonHine.com

                                       And


        April 24, 2017                 /s/ Thomas W. Wright
Date                                   THOMAS W. WRIGHT (0017529)
                                       Davis & Young Co., LPA
                                       29010 Chardon Road
                                       Willoughby Hills, Ohio 444092
                                       (216) 348-1700
                                       twright@davisyoung.com

                                       Attorneys for Defendants
                                       AllFasteners USA LLC,
                                       AllFasteners Enterprises LLC, and
                                       AllFasteners LA LLC


IT IS SO ORDERED this ______      April
                       25 day of __________________, 2017.




                                       ___________________________
                                        s/Christopher A. Boyko
                                       Christopher A. Boyko, Judge




                                          2
